  Case: 2:19-cv-04209-SDM-KAJ Doc #: 1 Filed: 09/21/19 Page: 1 of 12 PAGEID #: 1




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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


DAVID FORTNEY and ELI TRIPLETT                   Case No. ___________________________
individually and on behalf of all those
similarly situated,                              COMPLAINT FOR VIOLATIONS OF:

                        Plaintiffs,
          vs.

WALMART, INC.,                                                JURY TRIAL DEMANDED


                        Defendant.




    I.          COLLECTIVE ACTION COMPLAINT
           1.     Plaintiffs David Fortney and Eli Triplett (hereinafter referred to as “Plaintiffs”) by
and through their undersigned attorney, Michael L. Fradin, bring this action on behalf of
themselves and all others similarly situated, based upon personal knowledge as to themselves
and on information and belief as to all other matters, against Defendant Walmart, Inc.
(hereinafter referred to as “Defendant” or “Walmart”) and alleges as follows:
    II.         INTRODUCTION

           2.     Plaintiffs bring this case against Walmart, Inc. for willfully violating the Fair
Labor Standards Act (“FLSA”) and Ohio labor laws.
    III.        THE PARTIES



                                                -1-
                                       PLAINTIFFS’ COMPLAINT
  Case: 2:19-cv-04209-SDM-KAJ Doc #: 1 Filed: 09/21/19 Page: 2 of 12 PAGEID #: 2




       3.      Plaintiffs have at all relevant times been residents of the State of Ohio and were
employed by Defendant Walmart, Inc. as Automotive Technicians in the Walmart Tire & Auto
section of Defendant Walmart’s store located at 61205 Southgate Rd, Cambridge, Ohio 43725.
Plaintiff Fortney was employed at this Walmart location for roughly seven (7) years, from
approximately August 10, 2010 through approximately November 14, 2017, and spent roughly
the last five (5) of those years working in the Tire & Auto section of Defendant’s store at that
location. Plaintiff Fortney worked at Defendant Walmart’s store until approximately November
14, 2017. Plaintiff Triplett worked as an automotive technician at the Cambridge, Ohio location
from about May 18, 2017 until about May 27, 2019. Plaintiff Fortney’s consent form is attached
as exhibit A and Plaintiff Triplett’s consent form is attached as exhibit B. Plaintiffs anticipate
filing others’ consent forms as the case proceeds.
       A.      The Plaintiffs in General
       4.      Plaintiffs will serve as adequate, typical and active participants and class
representatives for the proposed FLSA Class and under Rule 23. Plaintiffs share the same title,
duties, and were affected by Walmart’s illegal wage practices as the proposed members of this
Class. Walmart has a policy of requiring work (responding to work related text messages,
Facebook messages, phone calls, and other communications) while its employees are on unpaid
meal breaks. The employee who is on their meal break is required to answer the question or
provide the information requested but is not paid any wages for the meal break, let alone
overtime wages. Defendant Walmart has actual and constructive knowledge that Plaintiffs and
similarly situated employees were required to perform the off-the-clock labor during their meal
breaks. This off-the-clock labor was permitted by Defendant in violation of the Fair Labor
Standards Act and Ohio Minimum Wage Law. Defendant has actual and constructive knowledge
that Plaintiffs and other similarly situated Walmart Tire & Auto employees performed off-the-
clock labor during their meal breaks.
       B.      Defendant
       5.      Defendant Walmart, Inc. is headquartered at 702 SW 8th Street Bentonville, AR
72716, and maintains a retail outlet at 61205 Southgate Rd, Cambridge, Ohio 43725 and
maintains other retail outlets in Southeastern Ohio (such as Zanesville and Athens), elsewhere in
Ohio, and throughout the United States. Defendant Walmart, Inc. owns and operates over 3,000



                                             -2-
                                    PLAINTIFFS’ COMPLAINT
  Case: 2:19-cv-04209-SDM-KAJ Doc #: 1 Filed: 09/21/19 Page: 3 of 12 PAGEID #: 3




store locations in the United States. Many of these store locations also offer automotive
maintenance and mechanic services. These automotive service locations are known as “Walmart
Tire & Auto” locations, “Walmart Tire & Lube Express” locations, and other names. For the
purposes of this Complaint, all such locations will be referred to collectively as “Walmart Tire &
Auto” locations.
         6.      Defendant Walmart engages in interstate commerce.
         7.      Defendant has annual revenues in excess of $500,000.
         8.      Defendant is an employer within the meaning of the FLSA and Ohio’s labor laws.
   IV.         JURISDICTION AND VENUE
         9.      Pursuant to 28 U.S.C. § 1331, this Court has federal-question jurisdiction over
Plaintiffs’ FLSA claims, which arise under 29 U.S.C. § 216(b). In addition, this Court has
supplemental jurisdiction over Plaintiffs’ state-law claims because those claims derive from the
same common conduct that led to violations of the FLSA; that is, the FLSA and Ohio claims all
derive from the same common nucleus of operative facts. 28 U.S.C. § 1367.
         10.     Pursuant to 28 U.S.C. § 1391, venue is proper in this judicial district because the
facts and events giving rise to Plaintiffs’ claims occurred in Ohio and within this judicial district.
         11.     Jurisdiction and venue as to Defendants are proper in this Court pursuant to 28
U.S.C. §§ 1331, 1332, and 216(b) of the FLSA, 29 U.S.C. § 216(b).
   V.          FACTUAL ALLEGATIONS
         A.      Walmart, Inc.
         12.     Defendant Walmart, Inc. employs Automotive Technicians (including Tire and
Lube Specialists and other similar positions) at Walmart store locations throughout the United
States. Defendant Walmart maintains over 2,500 automotive service centers across the United
States where they employ thousands of Automotive Technicians, Tire and Lube Specialists, and
other positions that are subject to Defendant’s policy of requiring its automotive technicians to
be available to provide information, usually concerning ongoing automotive service projects,
during their meal breaks.
         B.      Defendant Walmart’s Policy for Requiring Employees Working at Walmart
                 Tire & Auto Locations to Maintain Open Line of Communication while on
                 meal breaks.



                                              -3-
                                     PLAINTIFFS’ COMPLAINT
  Case: 2:19-cv-04209-SDM-KAJ Doc #: 1 Filed: 09/21/19 Page: 4 of 12 PAGEID #: 4




         13.   Defendant Walmart institutes a policy for all of its employees who work in
Walmart Tire & Auto locations to be responsive to off the clock inquiries concerning the status
of projects during their meal breaks.
         14.   Defendant Walmart requires employees to respond to inquiries about projects at
Walmart Tire & Auto locations even though the meal breaks are unpaid.
         15.   Because Walmart Tire & Auto employees must spend time responding to
inquiries about projects during their meal breaks, the meal breaks are not “bona fide” meal
breaks pursuant to 29 CFR §785.19
         16.   Many of Defendant’s Walmart Tire & Auto employees are regularly scheduled
for fulltime, 40 hour workweeks. Because the meal breaks are not “bona fide” meal breaks, the
worktime should have been recorded as overtime, and thus subject to the overtime pay increase
prescribed by federal and state law.
         17.   Had Defendant not required Plaintiffs and the collective group members to be
available to respond to inquiries, the employees could have used their meal time and other time
away from work as they chose, for pursuits either inside or outside store, without being regularly
interrupted to tend to, or spend time on, responding to inquiries about automotive projects.
         C.    Defendant Walmart Knew or Should Have Known that by failing to provide
               Uninterrupted Meal Breaks, it Forfeited its Right to Not Count the Meal
               Break as Worktime.
         18.   Defendant knew or should have known that the FLSA required bona fide Meal
Times to be completely interrupted.
         19.   Defendant knew or should have known that Plaintiffs and the similarly situated
collective group members routinely spent time responding to project inquiries during their meal
times.
         20.   Defendant knew that Plaintiffs and the similarly situated collective group
members routinely spent more than a de minimis amount of off-the-clock time responding to
inquiries because managers themselves often contacted or requested that other employees contact
Plaintiffs and similarly situated employees during their meal times to inquire about ongoing
automotive service projects.




                                            -4-
                                   PLAINTIFFS’ COMPLAINT
  Case: 2:19-cv-04209-SDM-KAJ Doc #: 1 Filed: 09/21/19 Page: 5 of 12 PAGEID #: 5




       21.     Defendant did not implement or enforce sufficient procedures to ensure that the
Plaintiffs and the collective group members were not contacted for work related inquiries during
their meal times.
       22.     Defendant did not implement or enforce sufficient policies or procedures to
ensure that Plaintiffs and the similarly situated collective group members were paid any wages
for the time they spent responding to inquiries during their meal breaks.
       D.      Complying with Defendant Walmart’s Inquiry Response Policy Required
               Walmart Tire & Auto Employees to Work Unpaid Time that Resulted in
               Unpaid Overtime
       23.     Plaintiffs are personally familiar with, and was personally affected by,
Defendant’s meal time policy for employees of Walmart Tire & Auto locations.
       24.     At all relevant times, Plaintiffs and other similarly situated Automotive
Technicians at the Walmart were not exempt from FLSA overtime pay requirements.
       25.     During the relevant period, Defendant never compensated for the regular hours or
the overtime hours spent during meal periods.
       26.     If Defendant had tracked and compensated employees for off-the-clock time spent
responding to project status inquiries, Plaintiff and other similarly situated collective group
members would not need to seek compensation for past due wages and overtime wages.
       27.     From his personal observation of Defendant’s other employees and his interaction
with those employees during the relevant period, Plaintiffs believe that all other Walmart Tire &
Auto location employees were subjected to the same policy and routinely spent time responding
to project inquiries during their meal breaks.
       28.     As a result of Defendant’s conduct, Plaintiffs and the similarly situated collective
group members have regularly been deprived of wages owed related to their meal breaks.
       29.     As a result of their conduct, Defendant has improperly retained money it should
have paid as wages to Plaintiffs and the collective group members for meal breaks. By retaining
this money, Defendant has received an inequitable windfall through, inter alia, reduced labor and
operations costs and enhanced profit margins.
       E.      Facts Common to All Class Members




                                             -5-
                                    PLAINTIFFS’ COMPLAINT
  Case: 2:19-cv-04209-SDM-KAJ Doc #: 1 Filed: 09/21/19 Page: 6 of 12 PAGEID #: 6




          30.     The job duties of employees in Walmart Tire & Auto locations are virtually
identical from location to location, region to region, facility to facility, and employee to
employee. Any differences in job activities between the different individuals in these positions
were and are legally insignificant to the issues presented by this action. The same policies,
procedures, employee handbooks and manuals, and compensation plan were distributed to the
Walmart Tire & Auto employees. As such, the policies, practice and procedures are uniformly
applied to the Walmart Tire & Auto employees which means individual issues will not
predominate, and in fact, all issues are systematically linked, related and common, both in terms
of facts and law.
          31.     Defendant Walmart did not keep accurate records of all the hours worked off-the-
clock by Walmart Tire & Auto location employees in compliance with Defendant’s meal break
policy.
          32.     Defendant Walmart, regularly, uniformly, and systematically failed to pay
Walmart Tire & Auto location employees proper overtime wages.
          33.     Defendant Walmart, regularly, uniformly, and systematically required Walmart
Tire & Auto location employees to work more than 40 hours in a single workweek, but did not
pay them overtime.
          34.     In light of the above allegations, Walmart Tire Auto employees were not and have
not been paid all wages due to them. Defendant Walmart’s unlawful scheme has resulted in
“wage theft.” Plaintiffs hav brought this action to recover for himself, and all similarly situated
Walmart Tire & Auto employees, the unpaid wages from Defendant Walmart.
   VI.          FLSA CLASS DEFINITION AND ALLEGATIONS
          35.     Plaintiffs bring the First Claim for Relief for violations of the FLSA as a
collective action pursuant to § 16(b) of the FLSA, 29 U.S.C. § 216(b). Plaintiffs bring the FLSA
action on behalf of himself and all members of the following class (the “FLSA Collective”)
comprised of:
          A.      FLSA Collective
          B.      All individuals employed at Walmart Tire & Auto locations in positions, job
                  titles, job codes, job classifications of “Automotive Technician and all other
                  similar nomenclature (including, but not limited to, “Tire & Lube Specialists” and



                                               -6-
                                      PLAINTIFFS’ COMPLAINT
  Case: 2:19-cv-04209-SDM-KAJ Doc #: 1 Filed: 09/21/19 Page: 7 of 12 PAGEID #: 7




                 other positions in Walmart Tire & Auto Locations) performing substantially
                 identical functions and/or duties, currently or formerly employed by Defendant
                 Walmart, Inc. and/or its predecessors or successors in interest in the United States
                 between 3 years prior to the filing of this suit and the date of final judgment in
                 this matter. This includes all Walmart Tire & Auto employees who are subject to
                 Defendant Walmart’s meal break policy.
        36.      Plaintiffs are members of the collective group defined above, because they
worked as an Automotive Technician at a Walmart Tire & Auto location for Defendant and
regularly spent substantial meal break time responding to inquiries about the status of projects.
        37.      Plaintiffs and the members of the FLSA Class are similarly situated in that they
have substantially similar job classifications, job duties, job requirements, and were subject to
Defendant Walmart’s common practice, policy, or scheme of forcing Defendant Walmart’s
Walmart Tire & Auto employees to be available to respond to inquiries from managers and co-
workers during their meal breaks and other times when they are off-the-clock.
        38.      Defendant is aware or should have been aware that federal law required them to
pay non-exempt employees an overtime premium for hours worked over 40 per workweek.
        39.      Defendant’s unlawful conduct has been widespread, repeated, and consistent.
        40.      The First Claim for Relief for violations of the FLSA may be brought and
maintained as an “opt-in” collective action pursuant to § 16(b) of the FLSA, 29 U.S.C. § 216(b),
since the claims for the Plaintiffs are similar to the claims of the members of the FLSA
Collective.
        41.      The FLSA Collective members are readily identifiable and ascertainable.
        42.      The names, addresses, and telephone numbers of the members of the FLSA
Collective are available from Defendant Walmart and notice should be provided to the members
of the FLSA Collective via electronic mail and first class mail to their last address known as
soon as possible.
        43.      In recognition of the services Plaintiffs have rendered and will continue to render
for the FLSA Collective, Plaintiffs will request payment of a service award upon resolution of
this action.
    VII.       RULE 23 CLASS DEFINITIONS AND ALLEGATIONS



                                              -7-
                                     PLAINTIFFS’ COMPLAINT
  Case: 2:19-cv-04209-SDM-KAJ Doc #: 1 Filed: 09/21/19 Page: 8 of 12 PAGEID #: 8




       44.     Plaintiffs bring the Second Claim for Relief under Federal Rule of Civil
Procedure 23, on behalf of themselves and a class of persons consisting of:
       45.     Rule 23 Class
               All individuals employed at Walmart Tire & Auto locations in positions, job
               titles, job codes, job classifications of “Automotive Technician and all other
               similar nomenclature (including, but not limited to, “Tire & Lube Specialists” and
               other positions in Walmart Tire & Auto Locations) performing substantially
               identical functions and/or duties, currently or formerly employed by Defendant
               Walmart Inc. and/or its predecessors or successors in interest in Ohio between
               three years prior to the filing of this lawsuit and the date of final judgment in
               this matter. This includes all Walmart Tire & Auto employees who are subject to
               Defendant Walmart’s meal break policy.
       46.     Excluded from the Rule 23 Class are Defendant’s legal representatives, officers,
directors, assigns, and successors, or any individual who has, or who at any time during the class
period has had, a controlling interest in Defendant; the Judge(s) to whom this case is assigned
and any member of the Judges’ immediate family; and all persons who will submit timely and
otherwise proper requests for exclusion from the Rule 23 Class.
       47.     The members of the Rule 23 Class are readily ascertainable. The number and
identity of the Rule 23 Class members are ascertainable from Defendant’s records. The hours
assigned and worked, the positions held, and the rates of pay for each Rule 23 Class Member are
also determinable from Defendant Walmart, Inc.’s records. For the purpose of notice and other
purposes related to this action, their names and addresses are readily available from Defendant.
Notice can be provided by means permissible under Federal Rule of Civil Procedure 23.
       48.     The Rule 23 Class members are so numerous that joinder of all members is
impracticable, and the disposition of their claims as a class will benefit the parties and the Court.
       49.     There are more than 50 Rule 23 Class members.
       50.     Plaintiffs’ claims are typical of those claims which could be alleged by any Rule
23 Class member, and the relief sought is typical of the relief which would be sought by each
Rule 23 Class member in separate actions.




                                             -8-
                                    PLAINTIFFS’ COMPLAINT
  Case: 2:19-cv-04209-SDM-KAJ Doc #: 1 Filed: 09/21/19 Page: 9 of 12 PAGEID #: 9




       51.     Plaintiffs and the Rule 23 Class members were subject to the same corporate
practices of Defendant, as alleged herein, of failing to pay proper overtime wages.
       52.     Plaintiffs and the Rule 23 Class members have all sustained similar types of
damages as a result of Defendant’s failure to comply with OMFWSA and Section 34a.
       53.     Plaintiffs and the Rule 23 Class members have all been injured in that they have
been uncompensated or under-compensated due to Defendant’s common policies, practices, and
patterns of conduct. Defendant’s corporate-wide policies and practices affected all Rule 23 Class
members similarly, and Defendant benefited from the same type of unfair and/or wrongful acts
as to each of the Rule 23 Class members.
       54.     Plaintiffs and the Rule 23 Class sustained similar losses, injuries, and damages
arising from the same unlawful practices, policies, and procedures.
       55.     Plaintiffs are able to fairly and adequately protect the interests of the Rule 23
Class and have no interests antagonistic to the Rule 23 Class.
       56.     Plaintiffs are represented by Counsel who is experienced and competent in both
collective and class action litigation and employment litigation.
       57.     A class action is superior to other available methods for the fair and efficient
adjudication of the controversy, particularly in the context of wage and hour litigation on behalf
of employees where individual class members lack the financial resources to vigorously
prosecute a lawsuit against corporate defendants. Class action treatment will permit a large
number of similarly situated persons to prosecute their common claims in a single forum
simultaneously, efficiently, and without the unnecessary duplication of efforts and expense that
numerous individual actions engender. Because the losses, injuries, and damages suffered by
each of the individual Rule 23 Class members are small in the sense pertinent to class action
analysis, the expenses and burden of individual litigation would make it extremely difficult or
impossible for the individual Rule 23 Class members to redress the wrongs done to them. On the
other hand, important public interests will be served by addressing the matter as a class action.
The adjudication of individual litigation claims would result in a great expenditure of Court and
public resources; however, treating the claims as a class action would result in significant saving
of these costs. The prosecution of separate actions by individual class members would create a
risk of inconsistent and/or varying adjudications with respect to the individual Rule 23 Class



                                             -9-
                                    PLAINTIFFS’ COMPLAINT
Case: 2:19-cv-04209-SDM-KAJ Doc #: 1 Filed: 09/21/19 Page: 10 of 12 PAGEID #: 10




members, establishing incompatible standards of conduct for Defendants and resulting in the
impairment of the Rule 23 Class members’ rights and the disposition of their interests through
actions to which they were not parties. The issues in this action can be decided by means of
common, class-wide proof. In addition, if appropriate, the Court can, and is empowered to,
fashion methods to efficiently manage this action as a class action.
          58.      Upon information and belief, Defendant has and continues to violate the
OMFWSA and Section 34a. Current employees are often afraid to assert their rights out of fear
of direct and indirect retaliation. Former employees are fearful of bringing claims because doing
so can harm their employment, future employment, and future efforts to secure employment.
Class actions provide class members who are not named in the complaint a degree of anonymity,
which allows for the vindication of their rights white elimination or reducing these risks.
          59.      This action is properly maintainable as a class action under Federal Rule of Civil
Procedure 23(b)(3).
          60.      Common questions of law and fact exist as to the Rule 23 Class that predominate
over any questions only affecting Plaintiff and the Rule 23 Class members individually and
include, but are not limited to:
                a. Whether Defendant paid Plaintiffs and the Rule 23 Class at the proper overtime
                   wages for all hours worked;
                b. Whether or not Defendant maintained a “bona fide” meal break policy.
                c. Whether Defendant properly compensated Plaintiffs and the Rule 23 Class for
                   hours worked in excess of 40 each workweek;
                d. Whether Defendant’s policy of failing to pay Plaintiffs and the Rule 23 Class was
                   instituted willfully or with reckless disregard of the law;
                e. The nature and extent of class-wide injury and the measure of damages for those
                   injuries.
          61.      In recognition of the services Plaintiffs have rendered and will continue to render
to the FLSA Collective, Plaintiffs will request payment of a service award upon resolution of this
action.
   VIII. CLAIMS FOR RELIEF




                                                 - 10 -
                                        PLAINTIFFS’ COMPLAINT
Case: 2:19-cv-04209-SDM-KAJ Doc #: 1 Filed: 09/21/19 Page: 11 of 12 PAGEID #: 11




         A.      Count 1 – Failure to Pay Overtime Wages – Fair Labor Standards Act (On
                 Behalf of Plaintiffs and the FLSA Collective)
         62.     Plaintiffs reallege and incorporates by this reference each of the preceding and
foregoing paragraphs as if fully set forth herein.
         63.     Plaintiffs and the FLSA Collective worked more than forty hours in one or more
workweeks.
         64.     Defendant’s meal break policy resulted in Plaintiffs and the FLSA Collective to
work overtime hours without compensation.
         65.     By not paying Plaintiffs and the FLSA Collective proper overtime wages for time
worked in excess of forty hours in a workweek, Defendant has willfully violated the FLSA.
         66.     As a result of Defendant’s willful violations, Plaintiffs and the FLSA Collective
are entitled to damages, including, but not limited to, unpaid overtime wages, liquidated
damages, costs, and attorneys’ fees.
         B.      Count 2 – Failure to Pay Overtime Wages – Ohio Minimum Fair Wage
                 Standards Act (On Behalf of Plaintiffs and the Rule 23 Class)
         67.     Plaintiffs reallege and incorporate by this reference each of the preceding and
foregoing paragraphs as if fully set forth herein.
         68.     Plaintiffs and the Rule 23 Class worked more than forty hours in one or more
weeks as a result of the Defendant’s meal break policy.
         69.     Defendant did not compensate Plaintiffs and the Rule 23 Class for the all the
hours they worked over 40 hours per week.
         70.     By not paying Plaintiffs and the Rule 23 Class proper overtime wages for time
worked in excess of forty hours in a workweek, Defendant has violated the OMFWSA (Ohio
Minimum Fair Wage Standards Act).
         71.     As a result of Defendant’s violations, Plaintiffs and the Rule 23 Class are entitled
to damages, including, but not limited to, unpaid overtime wages, liquidated damages, costs, and
attorneys’ fees.
   IX.         PRAYER FOR RELIEF
                 WHEREFORE, Plaintiffs, on behalf of themselves and all members of the
         Plaintiff Classes they seek to represent, pray for relief as follows:



                                               - 11 -
                                      PLAINTIFFS’ COMPLAINT
Case: 2:19-cv-04209-SDM-KAJ Doc #: 1 Filed: 09/21/19 Page: 12 of 12 PAGEID #: 12




              a. Designation of this action as a collective action on behalf of the collective action
                 members and prompt issuance of notice to all similarly-situated members of an
                 opt-in class, apprising them of this action, permitting them to assert timely wage
                 and hour claims in this action, and appointment of Plaintiffs and their counsel to
                 represent the collective action members;
              b. Overtime pay and liquidated damages pursuant to the FLSA and state law;
              c. Certification of this case as a class action pursuant to Rule 23 of the Federal Rules
                 of Civil Procedure;
              d. Designation of Plaintiffs as representatives of the Rule 23 Class and counsel of
                 record as Class Counsel;
              e. A declaratory judgment that the practices complained of herein are unlawful
                 under §34a and the OMFWSA (Ohio Minimum Fair Wage Standards Act);
              f. An award of overtime wages and liquidated damages due under Section 34a and
                 the OMFWSA;
              g. Liquidated damages under O.R.C. § 4113.15 and the OMFWSA;
              h. An award of prejudgment and post-judgment interest;
              i. An award of costs and expenses of this action, together with reasonable attorneys’
                 fees and expert fees;
              j. Such other legal and equitable relief as the Court deems appropriate.
   X.         DEMAND FOR JURY TRIAL
        72.      Plaintiffs hereby demand a jury trial on all causes of action and claims with
respect to which they each have a state and/or federal constitutional right to a jury trial.

                                                                              Respectfully submitted,

                                                                       Plaintiffs
DATED: September 21, 2019                                                        s/Michael L. Fradin
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                                                - 12 -
                                       PLAINTIFFS’ COMPLAINT
